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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
LUBBOCK DIVISION

UNITED STATES OF AMERICA

We NO. 5:19-CR-076-H
ERIC DION WARREN

FACTUAL RESUME

In support of Eric Dion Warren’s plea of guilty to the offense in Count One of the
Indictment, Warren, the defendant, Lara Wynn, the defendant’s attorney, and the United
States of America (the government) stipulate and agree to the following:

ELEMENTS OF THE OFFENSE

To prove the offense alleged in Count One of the Indictment, charging a violation
of 18 U.S.C. § 2113(a), that is, Bank Robbery, the government must prove each of the
following elements beyond a reasonable doubt:!

First. That the defendant intentionally took from the person money;

Second. That the money belonged to or was in the possession of a federally
insured bank, credit union, or savings and loan association at the
time of the taking; and

Third. That the defendant took the money by means of force and violence
and by means of intimidation.

Crug. A); QAADn__

| Fifth Circuit Pattern Jury Instruction 2.80A (Sth Cir. 2019).

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STIPULATED FACTS

1. Eric Dion Warren admits and agrees that on or about June 7, 2019, in the
Lubbock Division of the Northern District of Texas, and elsewhere, by force and
violence, or by intimidation, he did intentionally take from the person and presence of
another, that is, employees of AIM Bank, 702 Donald Preston Drive, Wolfforth, Texas,
money, that is, United States currency, belonging to, and in the care, custody, control,
management, and possession of said AIM Bank, a bank whose deposits were then insured
by the Federal Deposit Insurance Corporation. In violation of Title 18, United States
Code, Section 2113(a).

2 On June 7, 2019, at approximately 12:45 p.m., the AIM Bank at 702
Donald Preston Drive, Wolfforth, Texas, was robbed by a lone African-American male
wearing a grey t-shirt, black pants, and a black ball cap with a white/grey brim and
sunglasses. At all times relevant to this factual resume, AIM Bank was an institution the
deposits of which were insured by the Federal Deposit Insurance Corporation.

3. The African-American Male, later identified as Eric Dion Warren, went up
to one of the tellers and placed a paper fast food bag and a note on the counter. Warren
said: “this is a f****** robbery, give me all your money.” Warren then pulled out what
appeared to be a handgun and said: “I ain’t playing around, I only want 100s and 50s.” In
response, the teller provided Warren with money from her drawer belonging to, or in the
care, custody, control, management, or possession of AIM Bank. Included in the money

that Warren took were strapped twenty-dollar bills with recorded serial numbers.

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4. The note that Warren handed to the teller, which she did not have a chance
to read during the robbery, read: “This is a f****** robbery play with me and die I want
$10,000 in 50 and 100 dollar bills now you got 1 minute or I will kill you.” This note
was later analyzed for both DNA and fingerprints. The tests confirmed that both
Warren’s DNA and his fingerprints were located on the note.

5. After the teller had placed the funds from her drawer in Warren’s bag,
Warren turned around and exited the bank. As he was leaving, Warren said: “Don’t push
any buttons.” The teller stood with her hands up until Warren was out of the building.
Warren then drove away in a red Honda CRV with dealer license plates.

6. At approximately 12:56 p.m., Warren arrived at Gene Messer Ford, 6000
West 19th Street, Lubbock, Texas in a red Honda CRV that had been loaned to him by
Gene Messer Ford while the sale of a black BMW to Warren was being finalized.
Warren began waving cash at Gene Messer employees. At one point, Warren was
stacking money on the hood of a customer’s car. Warren entered the finance office and
attempted to purchase the BMW. He gave $3,000 cash to Gene Messer Ford as a down
payment on the BMW. While he was in the finance office, an employee received a phone
call from an associate informing him of the recent bank robbery. The employee realized
that the vehicle used in the bank robbery matched the vehicle that Gene Messer had lent
to Warren. The employee called 911.

7. The Lubbock Police Department and the Lubbock County Sherriff's Office
were notified that a man matching the description of the suspect in the recent bank
robbery was at Gene Messer Ford. When officers were dispatched to Gene Messer,

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Warren fled Gene Messer on foot and was arrested on the south side of 19th Street across
from Gene Messer Ford.

8. At the time of arrest, Warren was found with approximately $5,086 in cash
and a notebook. The notebook had a blank page with an impression from the previous
page that read: “This is a f****** robbery play with me and die I want $10,000 in 50
and 100 dollar bills now you got 1 minute or I will kill you.” The serial numbers of the
money found on Warren’s person were cross-referenced with the numbers that were on
the bills stolen from AIM Bank. At least one of the bills was found in the $5,086
recovered from Warren. Additional bills were recovered at Gene Messer Ford that were
part of the $3,000 deposit Warren placed on the vehicle. A painted pellet gun,
resembling a real handgun, was found approximately 10 feet away from Warren at the
time of his arrest.

9. The defendant agrees that the defendant committed all the essential
elements of the offense. This factual resume is not intended to be a complete accounting

of all the facts and events related to the offense charged in this case. The limited purpose

of this statement of facts is to demonstrate that a factual basis exists to support the

defendant’s guilty plea to Count One of the Indictment.

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AGREED TO AND STIPULATED on this 4" day of Ausust , 2020.

 

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